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Pro Se I (Rev 09/16) Complaint for a Civil Case



                                        UNITED STATES DISTRICT COURT
                                                                        for the


                                                            District of Massachusetts



                                                                          )        Case No.
                                                                                                 /10 '1C({t22~/-IToWl<46a/
                                                                          )                       (to be filled in by the Clerk's Office)
                                                                          )
                                                                          )
                                                                                                              ~s
                             Plaintiff(s)
(Write the full name ofeach plaintiff who is filing this complaint.       )
if the names ofall the plaintiffs cannot fit in the space above,                   Jury Trial: (check one)                  DNo
please write "see attached" in the space and attach an additional         )
page with the full list ofnames.)                                         )
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                             Defendantts)                                                                               O-t                              ~r-
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(Write the full name ofeach defendant who is being sued. if the
names ofall the defendants cannot fit in the space above, please          )                                             on
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write "see attached" in the space and attach an additional page
with the full list ofnames.)
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                                                  COMPLAINT FOR A CIVIL CASE

I.	       The Parties to This Complaint
          A.	       The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                               Name
                               Street Address
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                                                                                                             '
                               City and County
                                                                      ~1;rtdak)~ePk
                               State and Zip Code                     0213 , -qCJCfa'
                               Telephone Number
                               E-mail Address


          B.	       The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (ifknown). Attach additional pages if needed.




                                                                                                                                                      Page I of 5
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                     Defendant No. I
                                Name
                                Job or Title (ifknown)
                                Street Address
                                City and County
                                State and Zip Code
                                                            02?01.
                                Telephone Number
                                E-mail Address (if known)


                     Defendant NO.2
                                Name
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                                Job or Title (if known)     {3i.;cY ttJZ~
                                Street Address
                                                            Ort£   ,SA:.,rn...azc   PlL1Z<-<
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No.3
                                Name
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                                Job or Title (ifknown)      ~Q.:QIC-e,/'jla17~ &'?Je/Cauuno/l~fM ~
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                                City and County
                                                            ~
                                State and Zip Code
                                Telephone Number
                                E-mail Address (ifknown)


                     Defendant No.4
                                Name
                                Job or Title (if known)
                                Street Address              1165 8Jut:!!--II// A~
                                City and County

                                State and Zip Code

                                Telephone Number

                                E-mail Address (ifknown)



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II.	      Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.c. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

                           asis for federal court jurisdiction? (check all that apply)
                                                                  D Diversity of citizenship
          Fill out the paragraphs in this section that apply to this case.

          A.	       If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case. t:? e.. oi~.~. J. .....--J /'...  ' - . L')
                                                     ~t!!.	   a~              L»I41Ph.fVlT/




          B.	       If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.	       The Plaintiff(s)

                               a.	        If the plaintiff is an individual
                                          The plaintiff, (name)                                                , is a citizen of the
                                          State of (name)


                               b.	        If the plaintiff is a corporation
                                          The plaintiff, (name)                                                , is incorporated
                                          under the laws of the State of (name)
                                          and has its principal place of business in the State of (name)



                               (If more than one plaintiffis named in the complaint, attach an additional page providing the
                               same information for each additional plaintiff)

                     2.	       The Defendant(s)

                               a.	        If the defendant is an individual
                                          The defendant, (name)                                                 , is a citizen of
                                                                     ----------------
                                          the State of (name)                                                Or is a citizen of
                                           (foreign nation)


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                                b.	        If the defendant is a corporation
                                           The defendant, (name)                                        , is incorporated under
                                                                     -------~----------


                                           the laws of the State of (name)                                        , and has its

                                           principal place of business in the State of (name)

                                          Or is incorporated under the laws of (foreign no/ion)

                                           and has its principal place of business in (name)



                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.	       The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                               stake-is more than $75,000, not counting interest and costs of court, because (explain):




III.	     Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. Ifmore than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




IV.	      Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.




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V.        Certification and Closing

          Under Federal Rule of Civil Procedure II, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (l) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing Jawor by a
          non frivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.


                    Date of signing:


                     Signature of Plaintiff
                    Printed Name of Plaintiff


          B.        For Attorneys


                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address
                     State and Zip Code
                    Telephone Number
                    E-mail Address




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